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                                                                                                 United States Bankruptcy Court
                                 UNITED STATES BANKRUPTCY COURT                                      Southern District of Texas
                                   SOUTHERN DISTRICT OF TEXAS                                           ENTERED
                                                                                                       March 19, 2024
In Re:   David Allan Sullivan and Patricia Leonard Sullivan                     Case No.: 23−10175Nathan Ochsner, Clerk

         Debtor                                                                 Chapter: 13



                                       ORDER
                  CONFIRMING CHAPTER 13 PLAN & VALUING COLLATERAL
                              PURSUANT TO 11 U.S.C. §506



     1. The Court has considered confirmation of the Debtor(s)' chapter 13 plan that was proposed on 3/6/24.


     2. All objections to the plan have been withdrawn or overruled.


     3. The Court has determined that the plan meets all of the requirements of 11 U.S.C. §1325.


     4. Notwithstanding any estimate of the amount of general or priority unsecured claim contained in the
        plan or in an order of the Court, the actual amount payable on priority claims will be the Allowed
        Amount of the priority claim, and the actual proration for distribution on general unsecured claims
        will be based on the actual Allowed Amounts of general unsecured claims.


     5. The value of the collateral for secured claims is in the amount set forth in the plan.


     6. The plan is confirmed.




Signed and Entered on Docket: 3/19/24
